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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
JOHN ZIAS,
Plaintiff,
V. Case No. 8:17~cv-1325-T-27AAS
BMW FINANCIAL SERVICES NA, LLC,

Defendant.
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QB_D_B
The Court has been advised that this case has been settled. (Notice of Pending Settlement,
Dkt. 17). Accordingly, pursuant to Local Rule 3 .OS(b), this case is DISMISSED without prejudice
and subject to the right of the parties, within sixty (60) days of the date of this order, to submit a
stipulated form of final order or judgment should they so choose or for any party to move to reopen
the action, upon good cause shown. After that sixty (60) day period, however, dismissal shall be with
prejudice All pending motions, if any, are DENIED as moot. The Clerk is directed to CLOSE the
tile.
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DONE AND ORDERED this day of September, 2017.
@fns D. wHITTEMoRE
ted States District Judge

Copies to: Counsel of record

